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                        Certification of Translation Accuracy



Chien(wen) Lee hereby certifies that the attached document(s), interpreted part
of the following MP4 file into English between 13:20 to 15:43 time stamp, spoken
in Mandarin by Changpeng Zhao (judging from the speaker’s ID), to the best of my
knowledge as a native Chinese speaker, a true, accurate, and complete
interpretation of the following document:

                            2019_06_25_BHL‐SEC‐BUSD‐0235662.mp4

13:20 to 15:43 Changpeng Zhao stated – "Our goal is to reduce our own losses, but at the same time to prevent
the US regulatory entities from troubling us, that’s our biggest goal. I have started doing it already. I stopped all
the new registrations, which we already announced in all the social media, so far, our risk is low, we don’t have to
over‐correct ourselves. We have showed them the gestures, but don’t cut off our own hands and feet before
others come after us with axe [metaphorically speaking]. " We are not going to pick 1 way over the other 3, He Yi
is right, we have to support all 3, whichever users pick they decide for themselves. How do we slowly spread the
news to the users? We don’t sent 3000 emails all at once, maybe try 100 emails to begin with, and see what’s the
results will be. Also, we are flexible on the 9.12 deadline, we just tell them we did our best, but there are more
orders that we do not have a chance to review, it will be our risk. The [US] regulatory authorities did not give us
that deadline, we volunteered that deadline, it is not set in stone. No matter what the deadline is, our goal is for
these American users to slowly switch to other kind of users, of course, we are not going to publically announce
this, this is too sensitive, we can ignore the new IP addresses, they will open new accounts through other
countries, come up with new KYC, it will be easier for us to process. For those who want to switch to new KYC, this
is a solution for them. The most difficult part is that some users, they do not have foreign companies contact, nor
do they have non‐American KYC information.




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